Case 19-45962   Doc 45   Filed 09/01/20 Entered 09/01/20 15:15:03   Main Document
                                      Pg 1 of 2


                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

In Re:                               )   Case No. 19-45962-659
                                     )
Christopher & Brittney               )
Robotham,                            )   Chapter 13
                                     )
      Debtors-Movants,               )   Order
                                     )
                                     )   Motion No. ____44____

                                CERTIFICATION

     The undersigned certifies that all entities entitled to
notice of Debtor’s Motion to Approve Settlement and to Retain
Settlement Funds in accordance with Local Bankruptcy Rules have
been served with the foregoing motion/ pleading/objection and
the time for response has passed.    No responses in opposition
have been filed with the Court or Debtor’s Attorney.      Movant
requests the Court enter the attached Order which supercedes any
prior proposed Orders.

                         By:_/s/ Dominic Pontello ____
                         Dominic Pontello, MO #60947
                         Attorney for Debtor
                         406 Boones Lick Rd
                         St. Charles, MO 63301
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                         (636) 896-4170
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Case 19-45962   Doc 45   Filed 09/01/20 Entered 09/01/20 15:15:03   Main Document
                                      Pg 2 of 2


                                     ORDER

      IT IS HEREBY ORDERED that Debtors’ Motion to Approve
Settlement and to Retain Settlement Funds is granted; and upon
the signing of this Order, the proposed settlement is approved,
and Debtors are allowed to retain the $944.75 in settlement
funds.

                                          KATHY A. SURRATT-STATES
                                       Chief United States Bankruptcy Judge

DATED: September 1, 2020
St. Louis, Missouri 63102
jim



Order prepared by:

Pontello & Bressler, LLC
406 Boones Lick Rd.
St. Charles, MO 63301

Copies mailed to:

Diana S. Daugherty
Standing Chapter 13 Trustee
P.O. Box 430908
St. Louis, MO 63143

U.S. trustee
Office of U.S. Trustee
111 South 10th Street, Suite 6353
St. Louis, MO 6310

Christopher and Brittney Robotham
33 E. Cardigan Dr
St. Louis, MO 63135
